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 1                                  UNITED STATES DISTRICT COURT

 2                                         DISTRICT OF NEVADA

 3 Michael J. Mulder,                                      Case No.: 3:09-cv-0610-JAD-WGC

 4               Petitioner
         v.                                                 Order Granting Motion to Extend Time
 5
         William Gittere, et al.,
 6
                 Respondents                                              [ECF No. 192]
 7

 8             Respondents move to extend time 1 to file their reply in support of their motion to

 9 dismiss 2 and their response to petitioner’s motions for discovery 3 and an evidentiary hearing. 4

10 The court finds that respondents’ request is made in good faith and not solely for the purpose of

11 delay. In addition, respondents’ counsel represents to the court that opposing counsel does not

12 oppose the request. So, with good cause appearing, IT IS THEREFORE ORDERED that

13 respondents’ motion to extend time to file their reply in support of their motion to dismiss and to

14 file their response to petitioner’s motions for discovery and an evidentiary hearing [ECF No.

15 192] is GRANTED. The reply and responses are due January 4, 2021. In all other respects, the

16 schedule set forth in the court’s order of May 2, 2019, 5 remains in effect.

17             Dated: November 2, 2020

18                                                              _________________________________
                                                                U.S. District Judge Jennifer A. Dorsey
19

20
     1
21       ECF No. 192.
     2
         ECF No. 174.
22   3
         ECF No. 185
23   4
         ECF No. 187.
     5
         ECF No. 162.
